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February 28, 2019
Via ECF
The Honorable J. Paul Oetken
United States District Judge
Thurgood Marshall United States Courthouse
40 Foley Square, Room 2101
New York, NY 10007
OetkenNYSDChambers@nysd.uscourts.gov
       Re:    Saul Horowitz v. National Gas & Electric, LLC et al., Civ. No. 17-cv-7742 (JPO);
              Letter motion to seal documents and portions of briefing associated with
              Plaintiff’s Reply in Further Support of His Motion for Partial Summary Judgment
              Against National Gas & Electric, LLC and Spark Energy, Inc.
Dear Judge Oetken:
        Pursuant to Section 2.E.ii of your Individual Practices In Civil Cases, Plaintiff in the
above-captioned matter moves to seal portions of the reply briefing in support of his Motion for
Partial Summary Judgment Against National Gas & Electric, LLC (“NGE”) and Spark Energy,
Inc.(“Spark”). Specifically, Plaintiff seeks to seal: (1) portions of Plaintiff’s Reply
Memorandum of Law in Further Support of Plaintiff’s Motion for Partial Summary Judgment
Against NGE and Spark (“Reply”) and (2) portions of Plaintiff’s Response to Defendants’ Rule
56.1 Separate Statement of Additional Material Facts filed with the Reply.

       The parties in the above-captioned action have entered into a Stipulation and
Confidentiality Order, approved and ordered by the Court on June 18, 2018 (ECF No. 37,
“Confidentiality Stipulation”). Paragraph 41 of the Confidentiality Stipulation provides that:

       All Confidential Discovery Material filed with the Court, and all portions of
       pleadings, motions, or other papers filed with the Court that disclose such
       Confidential Discovery Material, shall be filed under seal with the Clerk of Court
       and kept under seal until further order of the Court. The Parties will use their best
       efforts to minimize such sealing, when possible. In any event, any Party filing a
       motion or any other papers with the Court under seal shall also publicly file a
       redacted copy of same, via the Court’s Electronic Case Filing system, that redacts
       only the Confidential Discovery Material itself, and not text that in no way reveals
       the Confidential Discovery Material.

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        The material Plaintiff proposes to redact consists of descriptions of and quotes from
documents that have been produced in this matter, which the parties have stamped
“Confidential” and for which there is no version of the document available in the public domain.
Thus, these documents are “Confidential Discovery Material” within the meaning of the
Confidentiality Stipulation. These documents include email exchanges among employees of the
parties and ancillary transaction documents.

        ‘“The Supreme Court has noted that every court has supervisory power over its own
records and files.”’ Newsday LLC v. Cnty. of Nassau, 730 F.3d 156, 163 (2d Cir. 2013) (quoting
Nixon v. Warner Commc’n, Inc., 435 U.S. 589, 598 (1978)). The Second Circuit has held that
courts have the power to forbid the disclosure of information and documents. See F.D.I.C. v.
Ernst & Ernst, 677 F.2d 230, 232 (2d Cir. 1987). When deciding whether a document should be
sealed, a court must consider the common law right of public access to documents. See Lugosch
v. Pyramid Co. of Onondaga, 435. F.3d 110, 119 (2d Cir. 2006). In order for the common law
right to access documents to apply, the documents must be considered “judicial documents.” Id.
A document becomes a “judicial document” when it is ‘“relevant to the performance of the
judicial function and useful in the judicial process.’” Id. (quoting United States v. Amodeo, 44
F.3d 141, 145 (2d Cir. 1995)). A court can seal documents it if it concludes that the presumption
in favor of access is outweighed by other factors such as impeding judicial efficiency and
privacy concerns from the parties resisting disclosure. Id. at 119-20.

       While Plaintiff acknowledges that “documents submitted to a court for its consideration
in a summary judgment motion are—as a matter of law—judicial documents to which a strong
presumption of access attaches,” countervailing factors may defeat that presumption. Id. at 121,
125; see also Giuffre v. Maxwell, 325 F. Supp. 3d 428, 445 (S.D.N.Y. 2018) (denying motion to
unseal summary judgment documents upon finding that a countervailing privacy interest
defeated the presumption of access).

        Plaintiff seeks to seal descriptions of and quotes from the documents referenced above in
accordance with the parties’ Confidentiality Stipulation. In making this request, Plaintiff has
proposed redactions that are narrowly tailored and necessary to preserve the privacy that the
parties expected when entering into the Confidentiality Stipulation and producing documents.

       Therefore, Plaintiff moves the Court to seal the redacted papers detailed in the first
paragraph of this Letter Motion, copies of which have been emailed to the Court.

                                                    Respectfully submitted,
                                                    KING & SPALDING LLP

                                                    /s/ Israel Dahan
                                                    Israel Dahan
                                                    Counsel for Plaintiff

cc:    All Counsel of Record



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